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                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                         CRIMINAL ACTION

VERSUS                                           NO: 07-384

DERRICK D.T. SHEPHERD                            SECTION: J(2)


                          ORDER AND REASONS

     Before the Court are Petitioner Derrick Shepherd’s Motion to

Vacate Sentence under 28 U.S.C. § 2255 (Rec. Doc. 478), the

Government’s Opposition (Rec. Doc. 515), and Petitioner’s Reply

in Support (Rec. Doc. 525).

              PROCEDURAL HISTORY AND BACKGROUND FACTS

     On April 10, 2008, the Federal Grand Jury returned an

indictment charging Petitioner, who was then serving as a

Louisiana State Senator, with conspiracy to commit fraud, mail

fraud, and conspiracy to commit money laundering.

     Petitioner was initially represented by Attorney Clarence

Roby. Subsequently, on May 16, 2008, Petitioner filed a motion to

enroll additional counsel, John Wilson Reed and Robert Glass, and

the Court granted the motion on the same day.

     On October 7, 2008, at a status conference with the Court at

which all counsel and Petitioner were present, counsel for the

Government informed the Court that a potential conflict between

Roby and Petitioner existed and requested that Roby voluntarily

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withdraw from the case. Reed advised the Court that Roby would

not voluntarily withdraw and that he would not waive any conflict

on Petitioner’s behalf. However, the following day, October 8,

2008, Reed filed under seal a motion to withdraw Roby, which the

Court granted the same day.

     On October 10, 2008, Petitioner pled guilty pursuant to a

plea agreement. Sixteen months later, on February 11, 2010,

Petitioner, represented by Reed, was sentenced to a thirty-seven

month term of imprisonment.

                        THE PARTIES ARGUMENTS

     In his Motion to Vacate Sentence under § 2255, Petitioner

challenges his sentence on three grounds. First, he alleges that

he was denied effective assistance of counsel because his

attorney, Clarence Roby, had a conflict of interest. Second, he

argues that he was denied effective assistance of counsel because

his counsel did not object to the government’s failure to file a

motion for downward departure. Third, Petitioner claims his

counsel was ineffective in failing to object to a two-level

increase for obstruction of justice and in failing to file a

notice of appeal.

     The Government responds that Petitioner waived his right to

collaterally challenge his sentence in his plea agreement and is

precluded from attacking his guilty plea on direct review.

Moreover, the Government contends that Petitioner fails to


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establish ineffective assistance of counsel. According to the

Government, Roby withdrew from representing Petitioner prior to

Petitioner pleading guilty, thus negating any potential conflict.

The Government argues that Petitioner has not shown that Reed’s

performance was ineffective or that he was prejudiced from Reed’s

representation.

     Additionally, the Government avers that filing an objection

to the Government’s failure to file a § 5K1.1 motion for downward

departure and to the two-level enhancement for obstruction of

justice would have been meritless. Lastly, according to the

Government, Petitioner does not state that he actually instructed

Reed to file a notice of appeal, and therefore Petitioner’s

challenge on this issue fails.

     In his Reply (Rec. Doc. 525), Petitioner withdraws his

challenge regarding his counsel’s failure to file a notice of

appeal.

                               DISCUSSION

     After reviewing the submissions of the parties, the Court

concludes that Petitioner’s challenges fail for three independent

reasons. First, Petitioner waived his right to collaterally

challenge his sentence in his plea agreement. Second, Petitioner

failed to raise his arguments on direct review and is therefore

procedurally barred from raising them on collateral review. And,

third, even if Petitioner’s challenge was properly before this


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Court, Petitioner’s ineffective-assistance-of-counsel claims are

meritless.

     “A defendant may waive his right to direct appeal and

collateral attack of a conviction and sentence by means of a plea

agreement, so long as the waiver is both knowing and voluntary.”

United States v. McCray, 2009 WL 1380304, at *3 (E.D. La. May 13,

2009) (citing United States v. Bond, 414 F.3d 542, 544 (5th Cir.

2005); United States v. McKinney, 406 F.3d 744, 746 (5th Cir.

2005); United States v. White, 307 F.3d 336, 343 (5th Cir. 2002).

In other words, the defendant must “understand[] the nature of

the right and how it would likely apply in general in the

circumstances.” McCray, 2009 WL 1380304, at *3 (citing United

States v. Ruiz, 536 U.S. 622, 629-30 (2002).

     At Petitioner’s rearraignment, during which he was ably

represented by criminal-defense attorneys Reed and Glass,

Petitioner indicated that he read and understood the plea

agreement, which contained an unambiguous waiver of appeal.1

Petitioner’s plea agreement clearly stated:

     The defendant hereby expressly waives his rights to appeal
     from his conviction and/or his sentence, including but not
     limited to any appeal rights conferred by Title 28, United
     States Code, Sections 1291, and by Title 18, United States
     Code, Section 3742. The defendant further waives his right
     to contest his conviction and/or his sentence in any


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      Additionally, Petitioner himself is an experienced
attorney, having graduated from Loyola Law School and practiced
law in New Orleans. Even if Petitioner were not an attorney, the
Court finds that the waiver was knowing and voluntary.

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     collateral proceeding, including proceedings brought under
     Title 28, United States Code, Section 2241 and Title, United
     States Code, Section 2255, on any ground, except that the
     defendant may bring a post conviction claim if the defendant
     establishes that ineffective assistance of counsel directly
     affected the validity of this waiver and appeal and
     collateral challenge rights or the validity of the guilty
     plea itself.

The Court concludes that Petitioner has not made a colorable

argument that his waiver was involuntary, and accordingly, the

Court finds that the waiver is valid and enforceable, precluding

Petitioner’s challenges.

     The Fifth Circuit has held that “an ineffective assistance

of counsel argument survives a waiver of appeal only when the

claimed assistance directly affected the validity of that waiver

or the plea itself.” White, 307 F.3d at 343. Petitioner’s

conflicted attorney withdrew before Petitioner pled guilty, and

Petitioner had conflict-free counsel at the time of his

rearraignment. During his Rule 11 colloquy with the Court,

Petitioner never gave any indication that his plea was anything

other than knowing and voluntary. Moreover, the Court notes that

Petitioner was aware of his previous counsel’s conflict prior to

his rearraignment, and notwithstanding that knowledge, Petitioner

represented to the Court that his plea was knowing and voluntary.

Accordingly, Petitioner’s valid plea and waiver procedurally bar

him from raising his ineffective-assistance-of-counsel arguments.

     Notwithstanding this ground for denying Petitioner’s motion,

Petitioner faces another fatal procedural bar because he failed

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to raise his challenges on direct review. “[T]he voluntariness

and intelligence of a guilty plea can be attacked on collateral

review only if first challenged on direct review. Habeas review

is an extraordinary remedy and ‘will not be allowed to do service

for an appeal.’” Bousley v. United States, 523 U.S. 614, 621

(1998) (internal citations omitted). Because Petitioner did not

raise his challenges on direct review, he must show “both ‘cause’

for his procedural default, and ‘actual prejudice’ resulting from

the error.” United States v. Segler, 37 F.3d 1131, 1133 (5th Cir.

1994).

     Petitioner has failed to demonstrate that any ineffective

assistance should invalidate his guilty plea or his decision to

waive his appeal and collateral challenge rights. Petitioner has

pointed to no obstacle preventing him from raising a challenge to

the validity of his plea on direct appeal. The Court notes that

sixteen months passed between Petitioner’s rearraignment and

sentencing. “In an ‘extraordinary case,’ however, ‘in which a

constitutional violation has probably resulted in the conviction

of one who is actually innocent,’ the Supreme Court has

recognized a narrow exception to the cause and prejudice test.”

United States v. Shaid, 937 F.2d 228, 232 (5th Cir. 1991)

(citation omitted). Petitioner’s case does not fall within this

narrow exception, as he has provided no evidence (nor has he even

made an allegation) to cast a shadow of doubt on his guilt of the


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crimes to which he pled guilty. Accordingly, the Court concludes

that Petitioner’s challenges fail because of he did not raise

them on direct appeal.

     However, Petitioner’s arguments are not simply procedurally

flawed. His arguments also lack substance.

     The burden of proof in habeas proceedings alleging

ineffective assistance of counsel is on Petitioner. United States

v. Chavez, 193 F.3d 375, 378 (5th Cir.1999) (citing Clark v.

Collins, 19 F.3d 959, 964 (5th Cir.1994)). Specifically,

Petitioner must prove two separate components. First, Petitioner

must show that counsel’s performance was deficient in that the

errors made by counsel were “so serious that counsel was not

functioning as the ‘counsel’ guaranteed the defendant by the

Sixth Amendment.” Strickland v. Washington, 466 U.S. 668, 687

(1984). Second, Petitioner must show that the deficient

performance prejudiced the defense, the errors made by counsel

being “so serious as to deprive the defendant of a fair trial, a

trial whose result is reliable.” Id.

     In determining whether counsel was deficient, this Court

must apply a highly deferential standard to the examination of

counsel’s performance. Id. at 689. The analysis starts with “a

strong presumption that counsel’s conduct falls within the wide

range of reasonable professional assistance; that is, the

defendant must overcome the presumption that, under the


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circumstances, the challenged action ‘might be considered sound

trial strategy.’” Id. (citation omitted). When deciding an actual

ineffectiveness claim, this Court “must judge the reasonableness

of counsel’s challenged conduct on the facts of the particular

case, viewed as of the time of counsel’s conduct.” Id. at 690.

     To show prejudice resulting from counsel’s deficient

performance, Petitioner must prove that “there is a reasonable

probability that, but for counsel’s unprofessional errors, the

result of the proceeding would have been different.” Id. at 694.

“A reasonable probability is a probability sufficient to

undermine confidence in the outcome.” Id.

     However, because both the deficiency of performance and the

prejudice components are necessary to a claim of ineffective

assistance of counsel, there is no need for the Court to address

both components if a finding is made that the petitioner has made

an insufficient showing on one. Id. at 697. Further, the Court

need not determine whether counsel’s performance was deficient

before examining whether the defendant suffered prejudice. Id. In

fact, “[i]f it is easier to dispose of an ineffectiveness claim

on the ground of lack of sufficient prejudice . . . that course

should be followed.” Id.

     In his Motion to Vacate Sentence under § 2255, Petitioner

challenges his sentence on three grounds. First, he alleges that

he was denied effective assistance of counsel because his


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attorney, Clarence Roby, had a conflict of interest. Second, he

argues that he was denied effective assistance of counsel because

his counsel did not object to the government’s failure to file a

motion for downward departure. Third, Petitioner claims his

counsel was ineffective in failing to object to a two-level

increase for obstruction of justice and in failing to file a

notice of appeal.

     Petitioner’s first argument regarding his conflicted

attorney fails. His conflicted attorney withdrew on October 8,

2008, before Petitioner pled guilty on October 10, 2008.

Petitioner knew of his counsel’s conflict before his counsel

withdrew, as indicated by the transcript of a status conference

with the Court on October 7, 2008. Petitioner did not continue

his rearraignment, rather he entered a knowing and voluntary plea

while represented by able conflict-free counsel. Moreover,

Petitioner has not demonstrated that his plea was tainted by his

former counsel’s conflict.

     Petitioner’s cite to Cuyler v. Sullivan, 446 U.S. 335 (1980)

does not persuade the Court to an alternate conclusion. Cuyler

explains that “a defendant who shows that a conflict of interest

actually affected the adequacy of his representation need not

demonstrate prejudice in order to obtain relief.” Id. at 349-50.

However, the situations Cuyler addressed were those in which a

conflicted counsel represented a client through trial. Petitioner


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can make no such analogy. He had conflict-free counsel at the

time of his rearraignment and sentencing. The Court concludes

that Petitioner has not alleged a meritorious argument that his

representation at the time of his plea was deficient.

     Nor has Petitioner advanced a colorable argument that his

counsel were deficient in failing to object to the government’s

failure to file a motion for downward departure. As the

Government points out, the Government alone has discretion to

file this motion. The Court concludes that Reed and Glass were

not deficient in failing to object to the Government’s decision

not to file a motion for downward departure.

     Likewise, because Petitioner admitted during his

rearraignment that he presented falsified documents to the Grand

Jury, the Court concludes that Reed and Glass were not deficient

in failing to object to a two-level increase for obstruction of

justice. Lastly, although Petitioner has withdrawn his challenge

regarding his counsel’s failure to file a notice of appeal, the

Court concludes that his argument would have also been

meritless–as Petitioner has not alleged that he instructed Reed

or Glass to file a notice on his behalf nor as he alleged he was

unaware of the ten-day time limit.

     IT IS ORDERED that Petitioner Derrick Shepherd’s Motion to

Vacate Sentence under 28 U.S.C. § 2255 (Rec. Doc. 478) is hereby

DENIED without an evidentiary hearing.


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     IT IS FURTHER ORDERED that Petitioner’s Motions for Summary

Judgment (Rec. Doc. 511, 521, and 526), and Motion for Release on

Bond (Rec. Doc. 527) are hereby DENIED AS MOOT.

     New Orleans, Louisiana, this 9th day of May, 2011.




                                        CARL J. BARBIER
                                        UNITED STATES DISTRICT COURT




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